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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       7                                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.    Debtor's name                    Nerium Biotechnology Inc.

2.    All other names debtor used
      in the last 8 years

      Include any assumed names,
      trade names and doing
      business as names


3.    Debtor's federal Employer
      Identification Number (EIN)          1      4      –      1      9        8    7         9   0     0

4.    Debtor's address                 Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       5886 DeZavala Rd. Ste 102 PMB 537                               5886 DeZavala Rd. Ste 102
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       San Antonio                         TX       78249              San Antonio                   TX      78249
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Bexar                                                           from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.    Debtor's website (URL)

6.    Type of debtor                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor Nerium Biotechnology Inc.                                                          Case number (if known)

7.    Describe debtor's business        A. Check one:

                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                        B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in
                                             15 U.S.C. § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                        C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes




8.    Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
      A debtor who is a "small               Chapter 11. Check all that apply:
      business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      defined in § 1182(1) who elects                        affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
      of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
      the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
      debtor") must check the second
      sub-box.                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                               OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                               sheet, statement of operations, cash-flow statement, and federal income tax
                                                               return, or if any of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                             Chapter 12




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Debtor Nerium Biotechnology Inc.                                                           Case number (if known)

9.    Were prior bankruptcy                  No
      cases filed by or against
      the debtor within the last 8           Yes. District                                        When                    Case number
      years?                                                                                             MM / DD / YYYY
                                                  District                                        When                    Case number
      If more than 2 cases, attach a
                                                                                                         MM / DD / YYYY
      separate list.
                                                  District                                        When                    Case number
                                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                    District                                                    When
      List all cases. If more than 1,                                                                                          MM / DD / YYYY
      attach a separate list.                       Case number, if known


                                                    Debtor                                                      Relationship

                                                    District                                                    When
                                                                                                                               MM / DD / YYYY
                                                    Case number, if known


11. Why is the case filed in            Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                             days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                             any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                             district.




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Debtor Nerium Biotechnology Inc.                                                    Case number (if known)

12. Does the debtor own or              No
    have possession of any              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                needed.
    property that needs
                                             Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                  safety.
                                                  What is the hazard?

                                                  It needs to be physically secured or protected from the weather.

                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                  attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                  related assets or other options).

                                                  Other


                                             Where is the property?
                                                                          Number      Street




                                                                          City                                       State      ZIP Code

                                             Is the property insured?

                                                  No
                                                  Yes. Insurance agency

                                                          Contact name

                                                          Phone


              Statistical and adminstrative information
13. Debtor's estimation of         Check one:
    available funds                    Funds will be available for distribution to unsecured creditors.
                                       After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                       creditors.

14. Estimated number of                 1-49                              1,000-5,000                         25,001-50,000
    creditors                           50-99                             5,001-10,000                        50,001-100,000
                                        100-199                           10,001-25,000                       More than 100,000
                                        200-999

15. Estimated assets                    $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                        $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                        $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                        $500,001-$1 million               $100,000,001-$500 million           More than $50 billion

16. Estimated liabilities               $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                        $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                        $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                        $500,001-$1 million               $100,000,001-$500 million           More than $50 billion




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Debtor Nerium Biotechnology Inc.                                                         Case number (if known)

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 07/08/2023
                                                      MM / DD / YYYY



                                          X /s/ Joseph Nester
                                              Signature of authorized representative of debtor
                                              Joseph Nester
                                              Printed name
                                              Director
                                              Title

18. Signature of attorney                X /s/ Morris E. "Trey" White III                                         Date   07/08/2023
                                            Signature of attorney for debtor                                             MM / DD / YYYY

                                            Morris E. "Trey" White III
                                            Printed name
                                            Villa & White LLP
                                            Firm name
                                            1100 N.W. Loop 410 Ste. 802
                                            Number          Street



                                            San Antonio                                                TX                 78213
                                            City                                                       State              ZIP Code


                                            (210) 225-4500                                             treywhite@villawhite.com
                                            Contact phone                                              Email address
                                            24003162
                                            Bar number                                                 State




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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             WESTERN DISTRICT OF TEXAS
                                                                SAN ANTONIO DIVISION
In re Nerium Biotechnology Inc.                                                                                                     Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                              $15,335.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                             $15,335.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   07/08/2023                         /s/ Morris E. "Trey" White III
                      Date                            Morris E. "Trey" White III                 Bar No. 24003162
                                                      Villa & White LLP
                                                      1100 N.W. Loop 410 Ste. 802
                                                      San Antonio, Texas 78213
                                                      Phone: (210) 225-4500 / Fax: (210) 212-4649




   /s/ Joseph Nester
   Joseph Nester
   Director
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                                       UNITED STATES BANKRUPTCY COURT
                                          WESTERN DISTRICT OF TEXAS
                                             SAN ANTONIO DIVISION
  IN RE:   Nerium Biotechnology Inc.                                               CASE NO

                                                                                  CHAPTER     7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 7/8/2023                                           Signature   /s/ Joseph Nester
                                                                    Joseph Nester
                                                                    Director




Date                                                    Signature
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Attorney General of the United States   Nerium Biotechnology Inc.
Main Justice Bldg; Room 5111            5886 DeZavala Rd. Ste 102
10th and Constitution Ave. NW           San Antonio, TX 78249
Washington, D.C. 20530


Brilliant Fulfillment                   SADEQ AL-BASSAM
1520 Luna Road                          c/o Terry D. Morgan
Suite 120                               Law Office of John and Morgan, P.C.
Carrollton, TX 75006                    6464 Savoy Drive, Suite 600
                                        Houston, TX 77036

Cardinal Emergent LLC                   Stephen Gould
c/o Ruben Valadez                       16420 Midway Road
Langley & Banack                        Addison, TX 75001
745 E. Mulberry #700
San Antonio, TX 78212

CDW Consolidated Design West            U.S. Department of Justice
1345 S Lewis Street                     U.S. Attorney Texas - Western
Anaheim, CA 92805                       Attn: Bankruptcy
                                        601 NW Loop 410, Suite 600
                                        San Antonio, TX 78216-5512

Connex Systems, Inc
P.O. Box 660831
Dallas, TX 75266-0831



Internal Revenue Service
300 E. 8th St. STOP5026AUS
Special Procedures- Insolvency
Austin, TX 78701


IPFS Corporation
2777 Allen Parkway
Suite 550
Houston, TX 77019


Joseph Nester
5886 DEZAVLA RD STE 102
San Antonio, TX 78249



Natural Technology
350 Apache Trail
Terrell, TX 75160



NEORA, LLC f/k/a NERIUM INTERNATIONAL LL
c/o Brian P. Shaw
CARRINGTON, COLEMAN, SLOMAN & BLUMENTHAL
901 Main Street, Suite 5500
Dallas, TX 75202
